Case 1:05-cr-00634-CBA   Document 58    Filed 08/21/06   Page 1 of 5 PageID #: 187




                                       /s/ Hon. Carol B. Amon
Case 1:05-cr-00634-CBA   Document 58   Filed 08/21/06   Page 2 of 5 PageID #: 188
Case 1:05-cr-00634-CBA   Document 58   Filed 08/21/06   Page 3 of 5 PageID #: 189
Case 1:05-cr-00634-CBA   Document 58   Filed 08/21/06   Page 4 of 5 PageID #: 190
Case 1:05-cr-00634-CBA   Document 58   Filed 08/21/06   Page 5 of 5 PageID #: 191
